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201 SOUTH MA!N STREE!

RODNE¥ G. SNOW
S\`€VEN E. C|,VDE
EDW|N C. UARNES

NElL A. KA|"\AN'

D. B|'\‘EN] ROSE

J. SCOTT HUNT£R
PE|'HZ|N R. |.OVE

DEAN C. ANDHEAS§N
ANNEL| R. SMll’H
WALTER A. ROIV|N£\\'d JR.
MA\’TI|EW A. SF€WARD
l. MlCKELL JlMENEZ
C|lRlSIOPHER B, ENOW‘

VEClOR|A B. F|NL%NSON
EMH.Y F.. LEWiS'
JONA¥HAN D. EL£lZACKER
JOHN S. PENN|NGTON=
PARKER B. MOGR|LLA‘
TEENYON L. LOWE

OF COUN§EL:

CLM?$< W. SESS|ONS|
REAGAN l..i'.l. DESMONDu a
\.|SA A. MARCV

EVAN B. SC|RENSENH

BIEENT R. BA§(ER¢\
AA?!ON D. LEBENTA
WAVNE Z` BENNETT
BIRAN A. LEBRECH!B
ROBERT D. ANDREASEN
`I|MOI'HY |`l¢ PACK
JAMES W` ANDERSON
D|ANA L. IELSER

SAU LAKE C|TY. LHAH 841`11-2216 EOWAR{) W.CLYDF (1917-1¢9|}

TEL 00\.322.2516 v FAX 5(}1.5?1.6280
www.c|vdesnow»com

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Via CM/ECF

t SEN:OR COUN$EL

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Honorable Denise L. Cote
Unlted States District Court
Southern District of New Yorl<
500 Pearl Street, Room 1610
New Yorl<, NY* 1 0007

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Re: Alpine Secw"r'fies Corporation adv. Un:.'r.‘ed Stares Secur:'fies and Exchange Comm.
Civil No. 1:17»cv-04176-DLC~RLE

Dear Judge Cote:

Plaintiff the Securities and Exchange Cornrnission (“SEC”) and Defendant Alpine
Securities Corporation (“Alpine) have conferred regarding a briefing Schedule for the summary
judgment practice discussed during the Novernber 2, 2017 hearing with the Court, and hereby
submit the following stipulated schedule for approval by the Cou:'t:

l. The SEC may file a Motion for Partial Summary Judgrnent With exemplar SARS
on or before December 4, 2017.

2. Alpine may file an Opposition to SEC’s Motion for Partial Surmnary Judgment,
and any Cross-Motion for Summary Judgment, on or before January 12, 2018.

3. The SEC may file a Reply i\/lernorandurn in Support of its Motion for Partial
Summary Judgment, and an Opposition to any Cross-I\/[otion for Partial Sumrnary
Judgrnent filed by Alpine, on or before January 26, 2018.

4. Alpioe may file a Reply Memorandum in Support of its CrosS-Motion for
Sumrnary Judgrnent on or before February 9, 2018.

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Respeetfully submitted,

/s/ Zachary 11 Carh)le

Zachary T. Cariy1e (pro hac vice)

Terry R. Miller (pro hac vice)
Attorneys for Plaintiff

UNITED STATES SECURITIES AND
EXCHANGE COMMISSION

1961 Stout Street, 17th Floor

Denver, Co}orado 80294

(303) 844-1000

/S/ Brenf R. Baker

Brcnt R. Bal<er (BB 8285)

Aaron D. Lebenta (pro hac vice)
Jonathan D. Bletzacl<er (pr'o hac vice)
CLYr)E SNOW & SESSIONS

One Utah Center, 13th Flocr

201 South l\/lain Street

Salt Lal<e City, Utah 84111~2216
Telephone 801 .322.2516

Facsirnile 801 .521.6280

Email: brb@clydesnow.com
adl@clydesnow.com
`db cl desnow.com

Maranda E. Fritz §
335 Madison Avenue, 12th Floor
New Yorl<, New York 10017-461 1
Tel. (212) 344-5680
Fax (212) 344-6101
Maranda.FritZ@thompsonhine.com

 

Attorneysfor Defendanf
Alpine Securilies Corpomtion

cc: Counsel ofRecord (via CM/ECF)

 

